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IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF NEW MEXICO

WILMINGTON SAVINGS FUND SOCIETY,

FSB, AS OWNER TRUSTEE OF THE

RESIDENTIAL CREDIT OPPORTUNITIES

TRUST VII-A, Case No. 21-cv-00375-KG-JFR

Plaintiff,

V.

MAX A. JURISH, GEORGIANNA JURISH,
and KIRTLAND FEDERAL CREDIT UNION,

Defendants.

STIPULATED ORDER APPROVING
REPORT OF SPECIAL MASTER AND CONFIRMING SALE

THIS MATTER comes before the Court upon the Report of Special Master, filed
November 12, 2021 (Doc. 20-1), submitted by David Washburn as well as Plaintiff's Unopposed
Motion Seeking Entry of Order Approving Report of Special Master, filed November 12, 2021
(Doc. 21). As indicated by the Report of Special Master, as previously authorized by the Court
the Special Master has conducted a foreclosure auction for the real estate involved in this lawsuit
with the property sold at auction to Plaintiff Wilmington Savings Fund Society, FSB, as Owner
Trustee of the Residential Credit Opportunities Trust VII-A (‘Plaintiff’) for the amount of
$55,600.00, the highest bid offered.

IT IS THEREFORE ORDERED that the Report of Special Master is hereby approved and
the sale is hereby confirmed.

IT IS FURTHER ORDERED that the purchase of the real estate at the sale pays in full the
judgment of Plaintiff plus any special master fees and costs of sale, Plaintiffs attorneys fees, taxes

and costs, and Plaintiffs expenses.
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IT IS FURTHER ORDERED that the Special Master’s Deed attached to the Report of
Special Master is hereby approved and is to be issued to Plaintiff. Upon delivery of the deed, the
Special Master shall be discharged without further order of the Court.

IT IS FURTHER ORDERED that Plaintiff Wilmington Savings Fund Society, FSB, as
Owner Trustee of the Residential Credit Opportunities Trust VII-A shall take title to the real estate
described in the Special Master’s Deed, free and clear of any and all claims, liens, right, title or
interest of Defendants herein, and all persons claiming by or through them, subject only to the
items set forth in the Special Master’s Deed, and subject further to the right of redemption, the
period of which is one (1) month from the date of the filing of this Order with the Clerk of the

District Court.

    

TRICT JUDGE

SUBMITTED BY:
KELEHER & MCLEOD, P.A.

/s/ Ryan M. Walters

Ryan M. Walters

Attorneys for Plaintiff Wilmington Savings
PO Box AA

Albuquerque, NM 87103

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APPROVED BY:

/s/ Jason M. Wexler (approved via email November 12, 2021)
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(consent to in rem judgment filed of record at Doc. 10-1)
Max A. Jurish

10620 N. Longview Ave

Marana, AZ 85653

(consent to in rem judgment filed of record at Doc. 11-1)
Georgianna Jurish

10620 N. Longview Ave

Marana, AZ 85653

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